           Case 4:20-cv-11257-MFL-MJH ECF No. 2 filed 05/21/20                            PageID.132       Page 1 of 14
AO 440 (Rev. 06/12) Summons in a Civil Action



                                                UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Eastern District of Michigan



Group 1 Automotive, Inc. as Assignee on Behalf of Group )
1 Automotive Wholly-Owned Subsidiary Dealerships, et. )
al.,                                                    )                      Civil Action No. 20-11257
                                           Plaintiff,   )
                                                        )
                           v.                           )
Toyoda Gosei Co., Ltd., et. al.,                        )                      Hon. Matthew F. Leitman
                                                        )
                                                        )
                                          Defendant.    )

                                                     SUMMONS IN A CIVIL ACTION

To:        Toyoda Gosei Co., Ltd



           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
               Andrew G. Pate
               Nix Patterson, LLP
               3600 N. Capital of Texas Hwy.
               Bldg. B, Suite 350
               Austin, TX 78746
               512-328-5333

       If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


DAVID J. WEAVER, CLERK OF COURT                                  By: s/S. Osorio
                                                                      Signature of Clerk or Deputy Clerk

                                                                      Date of Issuance: May 21, 2020
           Case 4:20-cv-11257-MFL-MJH ECF No. 2 filed 05/21/20                                PageID.133      Page 2 of 14
AO 440 (Rev. 06/12) Summons in a Civil Action



                                       Summons and Complaint Return of Service

                                                               Case No. 20-11257
                                                               Hon. Matthew F. Leitman

                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)   Toyoda Gosei Co., Ltd
 was received by me on (date)                                        .

            u I personally served the summons on the individual at (place)
                                                                               on (date)                           ; or

            u I left the summons at the individual’s residence or usual place of abode with (name)
                                                             , a person of suitable age and discretion who resides there,
            on (date)                           , and mailed a copy to the individual’s last known address; or

            u I served the summons on (name of individual)                                                                  , who is
             designated by law to accept service of process on behalf of (name of organization)
                                                                               on (date)                           ; or

            u I returned the summons unexecuted because                                                                           ; or

            u Other (specify):
                                                                                                                                       .

          My fees are $                         for travel and $                  for services, for a total of $                       .

          I declare under penalty of perjury that this information is true.

 Date:
                                                                                       Server’s signature



                                                                                     Printed name and title




                                                                                           Server’s address

 Additional information regarding attempted service, etc:
           Case 4:20-cv-11257-MFL-MJH ECF No. 2 filed 05/21/20                            PageID.134       Page 3 of 14
AO 440 (Rev. 06/12) Summons in a Civil Action



                                                UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Eastern District of Michigan



Group 1 Automotive, Inc. as Assignee on Behalf of Group )
1 Automotive Wholly-Owned Subsidiary Dealerships, et. )
al.,                                                    )                      Civil Action No. 20-11257
                                           Plaintiff,   )
                                                        )
                           v.                           )
Toyoda Gosei Co., Ltd., et. al.,                        )                      Hon. Matthew F. Leitman
                                                        )
                                                        )
                                          Defendant.    )

                                                     SUMMONS IN A CIVIL ACTION

To:        Toyoda Gosei North America Corporation



           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
               Andrew G. Pate
               Nix Patterson, LLP
               3600 N. Capital of Texas Hwy.
               Bldg. B, Suite 350
               Austin, TX 78746
               512-328-5333

       If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


DAVID J. WEAVER, CLERK OF COURT                                  By: s/S. Osorio
                                                                      Signature of Clerk or Deputy Clerk

                                                                      Date of Issuance: May 21, 2020
           Case 4:20-cv-11257-MFL-MJH ECF No. 2 filed 05/21/20                                PageID.135      Page 4 of 14
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                                       Summons and Complaint Return of Service

                                                               Case No. 20-11257
                                                               Hon. Matthew F. Leitman

                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)   Toyoda Gosei North America Corporation
 was received by me on (date)                                        .

            u I personally served the summons on the individual at (place)
                                                                               on (date)                           ; or

            u I left the summons at the individual’s residence or usual place of abode with (name)
                                                             , a person of suitable age and discretion who resides there,
            on (date)                           , and mailed a copy to the individual’s last known address; or

            u I served the summons on (name of individual)                                                                  , who is
             designated by law to accept service of process on behalf of (name of organization)
                                                                               on (date)                           ; or

            u I returned the summons unexecuted because                                                                           ; or

            u Other (specify):
                                                                                                                                       .

          My fees are $                         for travel and $                  for services, for a total of $                       .

          I declare under penalty of perjury that this information is true.

 Date:
                                                                                       Server’s signature



                                                                                     Printed name and title




                                                                                           Server’s address

 Additional information regarding attempted service, etc:
           Case 4:20-cv-11257-MFL-MJH ECF No. 2 filed 05/21/20                            PageID.136       Page 5 of 14
AO 440 (Rev. 06/12) Summons in a Civil Action



                                                UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Eastern District of Michigan



Group 1 Automotive, Inc. as Assignee on Behalf of Group )
1 Automotive Wholly-Owned Subsidiary Dealerships, et. )
al.,                                                    )                      Civil Action No. 20-11257
                                           Plaintiff,   )
                                                        )
                           v.                           )
Toyoda Gosei Co., Ltd., et. al.,                        )                      Hon. Matthew F. Leitman
                                                        )
                                                        )
                                          Defendant.    )

                                                     SUMMONS IN A CIVIL ACTION

To:        TG Kentucky, LLC



           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
               Andrew G. Pate
               Nix Patterson, LLP
               3600 N. Capital of Texas Hwy.
               Bldg. B, Suite 350
               Austin, TX 78746
               512-328-5333

       If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


DAVID J. WEAVER, CLERK OF COURT                                  By: s/S. Osorio
                                                                      Signature of Clerk or Deputy Clerk

                                                                      Date of Issuance: May 21, 2020
           Case 4:20-cv-11257-MFL-MJH ECF No. 2 filed 05/21/20                                PageID.137      Page 6 of 14
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                                       Summons and Complaint Return of Service

                                                               Case No. 20-11257
                                                               Hon. Matthew F. Leitman

                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)   TG Kentucky, LLC
 was received by me on (date)                                        .

            u I personally served the summons on the individual at (place)
                                                                               on (date)                           ; or

            u I left the summons at the individual’s residence or usual place of abode with (name)
                                                             , a person of suitable age and discretion who resides there,
            on (date)                           , and mailed a copy to the individual’s last known address; or

            u I served the summons on (name of individual)                                                                  , who is
             designated by law to accept service of process on behalf of (name of organization)
                                                                               on (date)                           ; or

            u I returned the summons unexecuted because                                                                           ; or

            u Other (specify):
                                                                                                                                       .

          My fees are $                         for travel and $                  for services, for a total of $                       .

          I declare under penalty of perjury that this information is true.

 Date:
                                                                                       Server’s signature



                                                                                     Printed name and title




                                                                                           Server’s address

 Additional information regarding attempted service, etc:
           Case 4:20-cv-11257-MFL-MJH ECF No. 2 filed 05/21/20                            PageID.138       Page 7 of 14
AO 440 (Rev. 06/12) Summons in a Civil Action



                                                UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Eastern District of Michigan



Group 1 Automotive, Inc. as Assignee on Behalf of Group )
1 Automotive Wholly-Owned Subsidiary Dealerships, et. )
al.,                                                    )                      Civil Action No. 20-11257
                                           Plaintiff,   )
                                                        )
                           v.                           )
Toyoda Gosei Co., Ltd., et. al.,                        )                      Hon. Matthew F. Leitman
                                                        )
                                                        )
                                          Defendant.    )

                                                     SUMMONS IN A CIVIL ACTION

To:        TG Fluid Systems USA Corporation



           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
               Andrew G. Pate
               Nix Patterson, LLP
               3600 N. Capital of Texas Hwy.
               Bldg. B, Suite 350
               Austin, TX 78746
               512-328-5333

       If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


DAVID J. WEAVER, CLERK OF COURT                                  By: s/S. Osorio
                                                                      Signature of Clerk or Deputy Clerk

                                                                      Date of Issuance: May 21, 2020
           Case 4:20-cv-11257-MFL-MJH ECF No. 2 filed 05/21/20                                PageID.139      Page 8 of 14
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                                       Summons and Complaint Return of Service

                                                               Case No. 20-11257
                                                               Hon. Matthew F. Leitman

                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)   TG Fluid Systems USA Corporation
 was received by me on (date)                                        .

            u I personally served the summons on the individual at (place)
                                                                               on (date)                           ; or

            u I left the summons at the individual’s residence or usual place of abode with (name)
                                                             , a person of suitable age and discretion who resides there,
            on (date)                           , and mailed a copy to the individual’s last known address; or

            u I served the summons on (name of individual)                                                                  , who is
             designated by law to accept service of process on behalf of (name of organization)
                                                                               on (date)                           ; or

            u I returned the summons unexecuted because                                                                           ; or

            u Other (specify):
                                                                                                                                       .

          My fees are $                         for travel and $                  for services, for a total of $                       .

          I declare under penalty of perjury that this information is true.

 Date:
                                                                                       Server’s signature



                                                                                     Printed name and title




                                                                                           Server’s address

 Additional information regarding attempted service, etc:
           Case 4:20-cv-11257-MFL-MJH ECF No. 2 filed 05/21/20                            PageID.140       Page 9 of 14
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                                                UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Eastern District of Michigan



Group 1 Automotive, Inc. as Assignee on Behalf of Group )
1 Automotive Wholly-Owned Subsidiary Dealerships, et. )
al.,                                                    )                      Civil Action No. 20-11257
                                           Plaintiff,   )
                                                        )
                           v.                           )
Toyoda Gosei Co., Ltd., et. al.,                        )                      Hon. Matthew F. Leitman
                                                        )
                                                        )
                                          Defendant.    )

                                                     SUMMONS IN A CIVIL ACTION

To:        Hitachi Metals, Ltd.



           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
               Andrew G. Pate
               Nix Patterson, LLP
               3600 N. Capital of Texas Hwy.
               Bldg. B, Suite 350
               Austin, TX 78746
               512-328-5333

       If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


DAVID J. WEAVER, CLERK OF COURT                                  By: s/S. Osorio
                                                                      Signature of Clerk or Deputy Clerk

                                                                      Date of Issuance: May 21, 2020
          Case 4:20-cv-11257-MFL-MJH ECF No. 2 filed 05/21/20                                PageID.141       Page 10 of 14
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                                       Summons and Complaint Return of Service

                                                               Case No. 20-11257
                                                               Hon. Matthew F. Leitman

                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)   Hitachi Metals, Ltd.
 was received by me on (date)                                       .

            u I personally served the summons on the individual at (place)
                                                                               on (date)                           ; or

            u I left the summons at the individual’s residence or usual place of abode with (name)
                                                             , a person of suitable age and discretion who resides there,
            on (date)                           , and mailed a copy to the individual’s last known address; or

            u I served the summons on (name of individual)                                                                  , who is
             designated by law to accept service of process on behalf of (name of organization)
                                                                               on (date)                           ; or

            u I returned the summons unexecuted because                                                                           ; or

            u Other (specify):
                                                                                                                                       .

          My fees are $                         for travel and $                  for services, for a total of $                       .

          I declare under penalty of perjury that this information is true.

 Date:
                                                                                       Server’s signature



                                                                                     Printed name and title




                                                                                           Server’s address

 Additional information regarding attempted service, etc:
          Case 4:20-cv-11257-MFL-MJH ECF No. 2 filed 05/21/20                            PageID.142        Page 11 of 14
AO 440 (Rev. 06/12) Summons in a Civil Action



                                                UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Eastern District of Michigan



Group 1 Automotive, Inc. as Assignee on Behalf of Group )
1 Automotive Wholly-Owned Subsidiary Dealerships, et. )
al.,                                                    )                      Civil Action No. 20-11257
                                           Plaintiff,   )
                                                        )
                           v.                           )
Toyoda Gosei Co., Ltd., et. al.,                        )                      Hon. Matthew F. Leitman
                                                        )
                                                        )
                                          Defendant.    )

                                                     SUMMONS IN A CIVIL ACTION

To:        Hitachi Metals America, Ltd



           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
               Andrew G. Pate
               Nix Patterson, LLP
               3600 N. Capital of Texas Hwy.
               Bldg. B, Suite 350
               Austin, TX 78746
               512-328-5333

       If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


DAVID J. WEAVER, CLERK OF COURT                                  By: s/S. Osorio
                                                                      Signature of Clerk or Deputy Clerk

                                                                      Date of Issuance: May 21, 2020
          Case 4:20-cv-11257-MFL-MJH ECF No. 2 filed 05/21/20                                PageID.143       Page 12 of 14
AO 440 (Rev. 06/12) Summons in a Civil Action



                                       Summons and Complaint Return of Service

                                                               Case No. 20-11257
                                                               Hon. Matthew F. Leitman

                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)   Hitachi Metals America, Ltd
 was received by me on (date)                                       .

            u I personally served the summons on the individual at (place)
                                                                               on (date)                           ; or

            u I left the summons at the individual’s residence or usual place of abode with (name)
                                                             , a person of suitable age and discretion who resides there,
            on (date)                           , and mailed a copy to the individual’s last known address; or

            u I served the summons on (name of individual)                                                                  , who is
             designated by law to accept service of process on behalf of (name of organization)
                                                                               on (date)                           ; or

            u I returned the summons unexecuted because                                                                           ; or

            u Other (specify):
                                                                                                                                       .

          My fees are $                         for travel and $                  for services, for a total of $                       .

          I declare under penalty of perjury that this information is true.

 Date:
                                                                                       Server’s signature



                                                                                     Printed name and title




                                                                                           Server’s address

 Additional information regarding attempted service, etc:
          Case 4:20-cv-11257-MFL-MJH ECF No. 2 filed 05/21/20                            PageID.144        Page 13 of 14
AO 440 (Rev. 06/12) Summons in a Civil Action



                                                UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Eastern District of Michigan



Group 1 Automotive, Inc. as Assignee on Behalf of Group )
1 Automotive Wholly-Owned Subsidiary Dealerships, et. )
al.,                                                    )                      Civil Action No. 20-11257
                                           Plaintiff,   )
                                                        )
                           v.                           )
Toyoda Gosei Co., Ltd., et. al.,                        )                      Hon. Matthew F. Leitman
                                                        )
                                                        )
                                          Defendant.    )

                                                     SUMMONS IN A CIVIL ACTION

To:        Hitachi Cable America, Inc.



           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
               Andrew G. Pate
               Nix Patterson, LLP
               3600 N. Capital of Texas Hwy.
               Bldg. B, Suite 350
               Austin, TX 78746
               512-328-5333

       If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


DAVID J. WEAVER, CLERK OF COURT                                  By: s/S. Osorio
                                                                      Signature of Clerk or Deputy Clerk

                                                                      Date of Issuance: May 21, 2020
          Case 4:20-cv-11257-MFL-MJH ECF No. 2 filed 05/21/20                                PageID.145       Page 14 of 14
AO 440 (Rev. 06/12) Summons in a Civil Action



                                       Summons and Complaint Return of Service

                                                               Case No. 20-11257
                                                               Hon. Matthew F. Leitman

                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)   Hitachi Cable America, Inc.
 was received by me on (date)                                       .

            u I personally served the summons on the individual at (place)
                                                                               on (date)                           ; or

            u I left the summons at the individual’s residence or usual place of abode with (name)
                                                             , a person of suitable age and discretion who resides there,
            on (date)                           , and mailed a copy to the individual’s last known address; or

            u I served the summons on (name of individual)                                                                  , who is
             designated by law to accept service of process on behalf of (name of organization)
                                                                               on (date)                           ; or

            u I returned the summons unexecuted because                                                                           ; or

            u Other (specify):
                                                                                                                                       .

          My fees are $                         for travel and $                  for services, for a total of $                       .

          I declare under penalty of perjury that this information is true.

 Date:
                                                                                       Server’s signature



                                                                                     Printed name and title




                                                                                           Server’s address

 Additional information regarding attempted service, etc:
